     Case 2:02-cr-80756-JAC ECF No. 180, PageID.518 Filed 06/02/05 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case number 02-80756
v.                                                           Honorable Julian Abele Cook, Jr.

FADY FAYAD,

                       Defendant.


                                             ORDER

        The Defendant, Fady Fayad, was indicted on one count of conspiring to commit

immigration fraud in violation of 18 U.S.C. §371 in this criminal litigation which involves a total

of fourteen Defendants. Now before the Court is a motion by Fayad who asserts the need to obtain

a bill of particulars, as well as a variety of other discovery material, from the Government.

        In his petition for a bill of particulars, Fayad asks the Government to provide him with

documents that will (1) identify the names of those naturalization applicants who are alleged to

have received fraudulent certifications from him, (2) specify the N-648 forms that were allegedly

used by him in connection with the claimed conspiracy, and (3) provide him with the names of all

naturalization applicants whom the Government intends to call as witnesses during the trial.

        It is well settled that an accused person, such as Fayad, is entitled to receive certain

fundamental information from the Government in order to (1) insure that he fully understands the

nature of the charges against him, (2) avoid or minimize the danger of an unfair surprise at trial,

and (3) provide him with a basis upon which to assert a double jeopardy defense if he is

subsequently charged with the same criminal offense. United States v. Brimley, 529 F.2d 103, 108
   Case 2:02-cr-80756-JAC ECF No. 180, PageID.519 Filed 06/02/05 Page 2 of 3




(6th Cir. 1976) (citing United States v. Haskins, 345 F.2d 111, 114 (6th Cir. 1965). Thus, the Court

is required - at a minimum - to determine if the indictment has sufficiently informed the defendant

of the charges that are pending against him. United States v. Bavers, 787 F.2d 1022, 1028 (6th Cir.

1985).

         Following its review of the record in this cause, the Court concludes that Fayad has failed

to demonstrate that the language within the indictment against him is sufficiently vague which, in

turn, would preclude him from preparing a meaningful defense. Moreover, it is the view of the

Court that the indictment against Fayad (1) clearly sets forth the charge against him, and (2)

identifies several overt acts with a reasonable degree of clarity that had been allegedly committed

by him. Thus, his requested bill of particulars is not warranted in this criminal proceeding for the

reasons that have been noted above.

         Although Fayad seeks to obtain other material and information in connection with the

criminal charges against him, he does not contend that the Government has failed to comply with

its continuing discovery obligations under the Federal Rules of Criminal Procedure. It is also

important to note that the Government must also produce any material that is favorable to Fayad.

Brady v. Maryland, 373 U.S. 83 (1963). Furthermore, Fayad requests a list of all witnesses whom

the Government intends to call at trial. Although a criminal defendant does not have a right to

receive or examine the Government’s witness list, this Court has the discretion to require

production. United States v. Napue, 834 F.2d 1311, 1318 (7th Cir. 1987). With recognition that the

Government claims to have provided Fayad with a list of approximately eight hundred potential

witnesses, the Court does not find that it is the interests of justice to compel the Government to

produce its witness list in this case.


                                                  2
   Case 2:02-cr-80756-JAC ECF No. 180, PageID.520 Filed 06/02/05 Page 3 of 3




       Accordingly, “Defendant Fady Fayad’s Motion for a Bill of Particulars and for Discovery”

is denied.

       IT IS SO ORDERED.



DATED:         June 2, 2005                                     s/ Julian Abele Cook, Jr.
               Detroit, Michigan                                JULIAN ABELE COOK, JR.
                                                                United States District Judge




                                       Certificate of Service

The undersigned certifies that a copy of the foregoing order was served on the attorneys of record by
electronic means or U.S. Mail on June 2, 2005.

                                                                       s/ Kay Alford
                                                                       Courtroom Deputy Clerk




                                                  3
